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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA, THE
STATE OF FLORIDA, ex rel. FLORIDA
SOCIETY OF ANESTHESIOLOGISTS,

Plaintii`fs/Relators,
v. Case No: 8:13-cv-2603-T-27AEP
UMESH CHOUDHRY, et al.,

Defendants.

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ORDER
BEFORE THE COURT is the Relator’s Notice of Voluntary Dismissal (Dkt. 159). The
United States consents to dismissal without prejudice to its rights (Dkt. 160). The Relator represents
that the State of Florida also consents to dismissal of the action Without prejudice to its rights (Dkt.
159 at 2). Accordingly, this case is DISMISSED with prejudice as to the Relator, but without
prejudice as to the United States and the State of Florida. The currently sealed docket entries shall

remain under seal until timber order of this Court.

$f'
DONE AND ORDERED this s il day of j

 
   

ited States District Judge

Copies to: Counsel of Record

